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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE; YANKTON
SIOUX TRIBE; ROBERT FLYING HAWK;
OGLALA SIOUX TRIBE,
               Plaintiffs,
  and
CHEYENNE RIVER SIOUX TRIBE; SARA
JUMPING EAGLE ET AL.,
               Plaintiff-Intervenors,
                                               Case No. 1:16-cv-1534-JEB
          v.                                   (and Consolidated Case Nos. 16-cv-
U.S. ARMY CORPS OF ENGINEERS,                  1796 and 17-cv-267)

               Defendant-Cross Defendant,
  and
DAKOTA ACCESS, LLC,
               Defendant-Intervenor-Cross
               Claimant.



                             ______________________________

   RESPONSE OF DAKOTA ACCESS, LLC IN OPPOSITION TO PLAINTIFFS’
     MOTION FOR CLARIFICATION AND A PERMANENT INJUNCTION
                  ______________________________


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                                         INTRODUCTION

        Plaintiffs seek to enjoin the operation of the Dakota Access Pipeline while the Army Corps

of Engineers prepares an environmental impact statement, but they have failed to meet their burden

on any of the requirements for an injunction.

        First, Plaintiffs have not prevailed on a claim for which injunctive relief is available. They

have no cause of action to proceed against the pipeline operator directly, nor to demand that the

Corps enforce the federal government’s property rights against Dakota Access. This Court’s order

vacating the Lake Oahe easement instead triggers the Corps’ process for addressing an “encroach-

ment” on Corps property. Plaintiffs speculate whether, when, or how the Corps may enforce those

federal property rights, but there is no final agency action to review at this time, nor have Plaintiffs

explained how such future action would be reviewable given that an agency’s decision whether to

bring an enforcement action is committed to its unreviewable discretion. The claim that Plaintiffs

did bring alleged that the Corps violated the National Environmental Policy Act (“NEPA”) and

the Administrative Procedure Act (“APA”) by granting the easement without preparing an envi-

ronmental impact statement (“EIS”). This Court vacated the easement and ordered the Corps to

prepare an EIS. No other remedy is available or necessary to vindicate that claim.

        Second, Plaintiffs fall far short of the demanding standard for irreparable harm. Plaintiffs

must set forth affirmative evidence establishing that imminent irreparable injury is probable absent

injunctive relief. But Plaintiffs concede that the best they have is the remote possibility of a spill.

The Court has already recognized that the likelihood of a spill capable of causing irremediable

harm at Lake Oahe is exceedingly low. That finding was an essential predicate for earlier rulings

that have not been disturbed. Plaintiffs provide no legal basis to revisit that conclusion, nor any

new factual basis for likelihood in any event. Instead, undisputed government data shows that the

likelihood of a spill of any size at Lake Oahe during the remand is far less than 1 percent, and that


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is before adjusting for this pipeline’s inherently lower risks. No court ever has entered injunctive

relief with chances of injury so remote. The case closest to this one—a within-District decision

also addressing oil spill risks—denied an injunction for that very reason. Because Plaintiffs’ as-

serted injuries all derive from a possible oil spill, they fail on this prong.

        Plaintiffs’ arguments on the final prong—equities and public interest—fare no better. They

principally rely on the Court’s vacatur opinion, ignoring that they now carry the burden of proving

that a shutdown will not harm the public. They cannot do so because shutting down DAPL would

cause thousands of workers, numerous States, the industry, and Dakota Access certain and enor-

mous irreparable harm—collectively billions of dollars and thousands of jobs lost—whereas pre-

serving the status quo would be exceedingly unlikely to cause any harm at all.

        Plaintiffs cannot avoid these requirements with an opinion purportedly “clarifying” that

vacatur alone compels a DAPL shutdown. In opposing a stay pending appeal, Plaintiffs made this

same argument that injunctive relief was unnecessary after all, but the D.C. Circuit rejected it.

And Plaintiffs are wrong in any event: Vacatur deprives the easement of legal force without com-

pelling private persons to act or an agency to enforce its own property rights. Finally, vacating the

Corps’ Section 408 construction permit would have no effect on pipeline operations, and Plaintiffs

have waited too long to seek that relief even if it could make a difference.

                                          BACKGROUND

        The Corps issued two authorizations before Dakota Access completed the pipeline segment

below Lake Oahe: (1) a construction permit under § 408 of the Rivers and Harbors Act; and (2)

an easement under the Mineral Leasing Act (“MLA”). Standing Rock Sioux Tribe v. U.S. Army

Corps of Eng’rs, 255 F. Supp. 3d 101, 114, 116, 120 (D.D.C. 2017) (“SRST III”). This Court

upheld the § 408 permit in June 2017. Id. at 148-52. After completion of a remand of the easement

decision for the Corps to consider comments post-dating the § 408 permit, id. at 124-25, Plaintiffs


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made no challenge to that permit. D.E. 433-2 at 50; D.E. 434-2 at 28; D.E. 435-1 at 24; D.E. 436-

1 at 18. The Court’s summary judgment ruling was accordingly limited to whether the Corps’

“easement approval remains ‘highly controversial’ under NEPA.” Standing Rock Sioux Tribe v.

U.S. Army Corps of Eng’rs, 440 F. Supp. 3d 1, 8 (D.D.C. 2020) (“SRST VI”).

       As for the issue of vacating the easement, Defendants have consistently maintained that

more would be needed to compel a DAPL shutdown. Dakota Access argued from the beginning

that “an order stopping the flow of oil” would “go beyond mere vacatur” and would require Plain-

tiffs to meet “the traditional (and demanding) test for injunctive relief.” D.E. 277 at 1-2 n.1 (citing

Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139 (2010)). The Corps likewise noted Plaintiffs’

failure to seek injunctive relief under Monsanto, D.E. 276 at 9 n.8, and accordingly opposed con-

ditions on pipeline operations during remand, D.E. 287 at 2. This Court acknowledged that the

parties “dispute[d] what, precisely, vacatur would entail.” Standing Rock Sioux Tribe v. U.S. Army

Corps of Eng’rs, 282 F. Supp. 3d 91, 96 (D.D.C. 2017) (“SRST IV”).

       In the latest remedy briefing, Defendants followed this Court’s instruction to address “va-

cat[ur]” of the easement. SRST VI, 440 F. Supp. 3d at 30. Plaintiffs went further, though. They

added a request for “vacatur” of the § 408 permit, D.E. 527 at 2 & n.1, and they submitted a pro-

posed remedy order with language that would enjoin Dakota Access, D.E. 527-1. Their brief made

no attempt, though, to meet the stringent requirements for an injunction. The Corps, joined by

Dakota Access, responded that the Court should “decline to order the additional injunctive relief,”

because “decommission[ing]”—i.e., a court-ordered shutdown—would both violate Monsanto and

“intrud[e] upon” the Corps’ authority to decide what follows from vacatur. D.E. 536 at 2, 19; D.E.

539 at 25 (Dakota Access expressly adopts this argument and contends that injunctive language

would “invad[e] the Corps’ prerogative to determine how to deal with an encroachment”).




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       This Court ordered that “Dakota Access shall shut down the pipeline and empty it of oil by

August 5, 2020.” D.E. 545. The D.C. Circuit stayed that part of the order because this Court “did

not make the findings necessary for injunctive relief.” Standing Rock Sioux Tribe v. U.S. Army

Corps of Eng’rs, No. 20-5197 (D.C. Cir. Aug. 5, 2020), Doc. 1855206 (“Stay Order”), at 1. The

order allows this Court to “consider additional relief if necessary.” Id. at 2. This motion followed.

                                          ARGUMENT

I.     Plaintiffs Have Not Met Their Burden For Obtaining Injunctive Relief

       Injunctive relief is an “extraordinary remedy” that “may only be awarded” upon a “clear

showing” that relief is warranted. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008).

Plaintiffs must show: (1) “‘actual success’” on a relevant claim, Doe v. Mattis, 928 F.3d 1, 7 (D.C.

Cir. 2019); (2) “‘an irreparable injury’”; and (3) that the “‘balance of hardships’” and “‘public

interest’” favor a stay, Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156-57 (2010).

       Plaintiffs fail to satisfy any of these requirements. They have not succeeded on the merits

of a claim for which injunctive relief is an available remedy; they have established no more than

an infinitesimal chance of injury absent injunctive relief; and both the equities and the public in-

terest weigh decisively against an injunction. The Court should deny the motion.

       A.      Plaintiffs Have Not Succeeded On The Merits Of A Claim For Which
               Injunctive Relief Is An Available Remedy

       Plaintiffs fail at the start. They have not succeeded on the merits of any claim that allows

the injunctive relief they now seek. Plaintiffs’ NEPA claims challenge the agency action of issuing

an easement. They prevailed with an order vacating that action. Plaintiffs do not have an addi-

tional claim against Dakota Access for continued operation without an easement, or against the

Corps for its response to that continued operation. Nor could they. “Injunctive relief … is not a

freestanding cause of action,” Base One Techs., Inc. v. Ali, 78 F. Supp. 3d 186, 199 (D.D.C. 2015)



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(Boasberg, J.), and private parties have no cause of action to enforce the Corps’ property rights.

       1. Plaintiffs now seek to support relief against Dakota Access—an order directing it to

“cease all operations of the pipeline.” D.E. 569-1 at 2. But Plaintiffs have never brought a claim

against Dakota Access, which is here only as an intervenor, and no such claim is available.

       NEPA creates “no private right of action,” so any “challeng[e] to agency compliance with

the statute must be brought pursuant to the Administrative Procedure Act.” Karst Envtl. Educ. &

Prot., Inc. v. EPA, 475 F.3d 1291, 1295, 1298 (D.C. Cir. 2007). And “nothing in the APA author-

izes claims against nonfederal entities.” Id. at 1298. The MLA also “does not create an implied

right of action against the private defendants.” Naartex Consulting Corp. v. Watt, 722 F.2d 779,

789-90 (D.C. Cir. 1983). Congress intended each relevant federal agency—“not the citizenry at

large”—“to oversee the proper allocation and development of the public lands.” Id. at 790.

       The property rights relevant here belong to the Corps, not Plaintiffs, and a “plaintiff gen-

erally must assert his own legal rights and interests”—not “the legal rights or interests of” others.

Warth v. Seldin, 422 U.S. 490, 499 (1975) (emphasis added). Indeed, an “elementary” principle

of property law—dating back centuries— is that only “a person … in possession of real estate”

can challenge a property trespass. Stoltz v. Kretschmar, 24 Wis. 283, 284 (1869). Lacking any

“right to posses[s]” the federal lands abutting Lake Oahe, Plaintiffs have no “standing to sue for a

claimed trespass.” United States v. Kittredge, 445 F.2d 1117, 1119-20 (5th Cir. 1971).

       2. Nor do Plaintiffs have a claim against the Corps challenging how it exercises its property

rights near Lake Oahe. This Court’s vacatur order triggered the Corps’ “procedures for addressing

encroachments” on its property. D.E. 507 at 6, 14. As the remedy briefs explained, under this

process the Corps “consider[s] whether corrective action is necessary to cure the pipeline’s en-

croachment on federal property,” including whether to “halt … oil flow within the Pipeline.” Id.




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at 14-15 (Corps’ remedy brief). This Court has recognized that whether, when, or how to respond

to such encroachments is fully within “the Corps’ discretion.” Standing Rock Sioux Tribe v. U.S.

Army Corps of Eng’rs, 2020 WL 3634426, at *10 (D.D.C. July 6, 2020) (“SRST VII”).

       There is nothing for the Court to review in these circumstances. First, the APA limits

review to “final agency action.” 5 U.S.C. § 704. And action is not “final” unless it “consum-

mate[s]” the agency’s “‘decisionmaking process,’” and “‘determine[s]’” “‘rights or obligations’”

or otherwise imposes “‘legal consequences.’” Bennett v. Spear, 520 U.S. 154, 177-78 (1997). The

Corps’ “mer[e] investigatory” steps here toward a decision whether to enforce its property rights

are nonfinal and unreviewable. Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety

Comm’n, 324 F.3d 726, 732 (D.C. Cir. 2003).

       Second, Plaintiffs have failed to show that even a final decision by the Corps on the en-

croachment issue would be reviewable. The APA expressly precludes review of any action that is

“committed to agency discretion by law.” 5 U.S.C. § 701(a)(2). The paradigmatic example—

under Supreme Court precedent reflecting longstanding “tradition,” Heckler v. Chaney, 470 U.S.

821, 832 (1985)—is “an agency’s decision not to exercise its enforcement authority, or to exercise

it in a particular way.” Baltimore Gas & Elec. Co. v. FERC, 252 F.3d 456, 459 (D.C. Cir. 2001).

An exercise of the Corps’ prosecutorial discretion to defer or abstain from enforcement in a par-

ticular case is committed to its “absolute discretion” and is “not subject to judicial review.” Bal-

timore Gas & Elec., 252 F.3d at 459; see also Arpaio v. Obama, 797 F.3d 11, 16 (D.C. Cir. 2015)

(decisions “whether to grant relief from deportation”); West v. Holder, 60 F. Supp. 3d 197, 204

(D.D.C. 2015) (drug-enforcement priorities).

       That is particularly so for the two layers of unreviewable enforcement discretion here: the

Corps’ choice whether to order a pipeline shutdown, and the U.S. Attorney’s decision whether to




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bring a civil action upon the Corps’ referral. USACE_ESMT 6606.1 Nor would it help Plaintiffs

if they were to bring a claim challenging agency “inaction.” Agency inaction is reviewable only

if the agency refuses or “‘unreasonably’” delays a “discrete agency action that it is required to

take.” Norton v. S. Utah Wilderness All., 542 U.S. 55, 61-62, 64 (2004). As explained above, no

law or regulation requires the Corps to bring an enforcement action in response to an encroach-

ment, nor have Plaintiffs even tried to address the need to show unreasonable delay when an

agency does have a duty to take discrete action after making certain determinations.

       No statute or regulation allows a different outcome. NEPA applies only when agencies

take “major Federal actions,” 42 U.S.C. § 4332(C); it does not compel any agency to act on a

private party’s encroachment. And even if NEPA applied here, it would require the Corps to

complete an EA or EIS before shutting down DAPL, because no “major Federal actio[n] signifi-

cantly affecting the quality of the human environment” should proceed without understanding its

significant effects on the environment. Id. The Corps identified legitimate concerns—backed by

record evidence—that “even temporar[ily] decommissioning” DAPL could have environmental

effects, including “oil being transported by truck or rail—transportation methods that entail both

greater risk of spills and greater air pollution than pipeline transport.” D.E. 507 at 2. To the extent

the Court was correct that studies are “inconclusive” on the environmental impacts of shifting oil

transport from pipeline to rail, SRST VII, 2020 WL 3634426, at *10, the need for the Corps to

study those environmental effects first would be even stronger.

   1
         The relevant statutes also contain no standard for addressing encroachments on Corps-
managed land. Congress instead “laid out broad goals” for management of federal lands, leaving
it to the Corps “to work out a specific management plan.” S. Dakota v. Ubbelohde, 330 F.3d 1014,
1020 (8th Cir. 2003). The Corps has “general procedures” for addressing encroachments on
Corps-supervised land, USACE_ESMT 6593, with “[e]xceptions” that allow the Corps to tolerate
an encroachment in appropriate circumstances, USACE_ESMT 6605. So, even if exercises of
enforcement discretion could be reviewed, nothing requires the Corps to shut down DAPL before
considering the economic and environmental costs of doing so.


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        3. The law specific to NEPA reinforces this conclusion. The “additional and extraordinary

relief of an injunction” is inappropriate when the “less drastic remedy” of vacatur is “sufficient to

redress” a NEPA violation. Monsanto, 561 U.S. at 165-66. Here, the Court agreed with Plaintiffs

that the Corps violated NEPA by failing to prepare an EIS before granting the easement. The

Court’s remedy redressed the claimed violation by vacating the easement and remanding to prepare

the EIS. Plaintiffs’ alleged irreparable injuries—all tied to a hypothetical future spill—arise from

DAPL’s alleged encroachment on Corps’ property, not any NEPA “‘inadequacy.’” Gill v. Whit-

ford, 138 S. Ct. 1918, 1930 (2018). There is thus “no link between the injunctive relief sought and

… success” on the NEPA claim. Fang v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 2016 WL

9275454, at *2 (N.D. Cal. Dec. 10, 2016), aff’d, 694 F. App’x 561 (9th Cir. 2017).

        Plaintiffs’ success in vacating “a particular agency order” under NEPA does not allow them

to “pre-emp[t]” separate agency processes that “possib[ly]” remain lawful. Monsanto, 561 U.S.

at 159-66. Consistent with the “presumption of legitimacy accorded to the Government’s official

conduct,” Nat’l Archives & Records Admin. v. Favish, 541 U.S. 157, 174 (2004), it must be left to

“the agency to decide whether and to what extent it w[ill] pursue” other unchallenged measures,

Monsanto, 561 U.S. at 159. Monsanto’s reasoning applies with even greater force here. Not only

is the Corps’ exercise of its enforcement discretion for encroachments “possib[ly]” lawful, 561

U.S. at 164, it is unreviewable absent final agency action, and indeed it is entirely committed to

the agency’s discretion.2 Plaintiffs fail on the first prong.

        B.     Plaintiffs Have Not Established Irreparable Harm

        Plaintiffs also fall short of the requirement to establish “irreparable injury.” Monsanto,

    2
        Plaintiffs also invoke the Corps’ trust obligations, Mot. 7-8, but Plaintiffs have not pre-
vailed on a trust claim. This Court held that Plaintiffs lacked any actionable trust claim because
SRST and CRST alleged no “specific fiduciary duties,” SRST III, 255 F. Supp. 3d at 144, and “the
Corps has not breached [its] duty” as to OST, SRST VI, 440 F. Supp. 3d at 29. And any trust rights
will be vindicated through preparation of the EIS that this Court ordered.

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561 U.S. at 162. Another case from this District is directly on point. The plaintiffs there failed to

establish irreparable harm from either construction or operation of an oil pipeline because, as rel-

evant here, they “ha[d] not shown that a damaging oil spill is likely to occur.” Sierra Club v. U.S.

Army Corps of Eng’rs, 990 F. Supp. 2d 9, 41 (D.D.C. 2013). Plaintiffs cite this case for a different

point, ignoring this fatal ruling on the irreparable-harm prong. Mot. 21. Moreover, the full record

before this Court, not just the administrative record, affirmatively establishes that a large spill (i.e.,

one that might reach Lake Oahe) is extraordinarily unlikely and even less likely to injure Plaintiffs,

let alone irreparably. And Plaintiffs’ other alleged injury theories all fail because they derive from

the same remote spill threat. Injunctive relief is therefore inappropriate.

                1.      Plaintiffs Fail To Meet Their Burden Of Showing A Harm That Is
                        “Certain, Great, Actual, Imminent,” And “Beyond Remediation”

        The D.C. Circuit “has set a high standard for irreparable injury,” Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006), applying to preliminary and permanent

injunctions, Mattis, 928 F.3d at 7. First, an alleged injury “‘must be both certain and great; it must

be actual and not theoretical’”; i.e., the plaintiff “‘must show the injury complained of is of such

imminence that there is a clear and present need for equitable relief to prevent irreparable harm.’”

Chaplaincy, 454 F.3d at 297 (quoting Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985));

accord Monsanto, 561 U.S. at 162; City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983). Second,

that injury “must be beyond remediation,” as even “‘substantial’” injuries can often be remediated

through “‘compensatory or other corrective relief.’” Chaplaincy, 454 F.3d at 297 (quoting Wis.

Gas, 758 F.2d at 674); accord Monsanto, 561 U.S. at 156; Lyons, 461 U.S. at 111.

        This Court has recognized that the irreparable-injury requirement thus “‘erects a very high

bar for a movant,’” Henke v. Dep’t of Interior, 842 F. Supp. 2d 54, 59 (D.D.C. 2012)—“substan-

tially higher” than the standard required for vacatur, Oglala Sioux Tribe v. U.S. Nuclear Regulatory



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Comm’n, 896 F.3d 520, 535 (D.C. Cir. 2018). “[A] plaintiff must, at a minimum, ‘demonstrate

that irreparable injury is likely in the absence of an injunction,’ not just that injury is a ‘possibil-

ity.’” Nat’l Ass’n of the Deaf v. Trump, — F. Supp. 3d —, 2020 WL 5411171, at *4 (D.D.C. Sept.

9, 2020). Thus, an injury that is “just as likely” not to occur “is not actual and certain” and cannot

support injunctive relief. Save Jobs USA v. DHS, 105 F. Supp. 3d 108, 113 (D.D.C. 2015). It is

not enough to show that an injunction would make an unlikely harm less likely; “a reduction in

risk” is not the same as “establish[ing] that irreparable harm is likely in the absence of an injunc-

tion.” Ctr. for Biological Diversity v. Ross, — F. Supp. 3d —, 2020 WL 4816458, at *10 (D.D.C.

Aug. 19, 2020) (emphasis removed). To obtain an injunction based on the risk of a “‘devastating’”

“oil spill” at Lake Oahe, Mot. 9, Plaintiffs must prove that such an irremediable spill is “‘certain,

great, actual, and imminent,’” Henke, 842 F. Supp. 2d at 59. Out-of-circuit cases cannot override

this Circuit’s precedent. See Mot. 11 (citing Seventh and Tenth Circuit cases). And in the case

with most analogous facts—from this District—the possibility of a pipeline oil spill did not satisfy

the requirement of “likely” harm. Sierra Club, 990 F. Supp. 2d at 41.

       Plaintiffs have not come close to showing that it is “likely” that a spill large enough to

reach Lake Oahe and cause irreparable injury will occur during the remand. In fact, this Court has

repeatedly affirmed the Corps’ ultimate “conclusion that the risk of a spill is low.” SRST III, 255

F. Supp. 3d at 127; see also SRST IV, 282 F. Supp. 3d at 96 (summarizing the Court’s affirmance

of the Corps’ “‘top-line conclusion’ that the risk of an oil spill was sufficiently low so as to not

require an EIS”); id. at 101 (finding “minimal risk of an oil spill under Lake Oahe reduces the

likelihood that the project will have a significant impact”); SRST VI, 440 F. Supp. 3d at 29 (“[T]his

Court has accepted” that “[t]he possibility of a future spill” is “low”). This Court’s low-likelihood

finding was an essential predicate of its earlier rulings, and Plaintiffs offer no basis for this Court




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to depart from it. Rather, all Plaintiffs do is present “the same issue . . . in the same case in the

same court.” Kimberlin v. Quinllan, 199 F.3d 496, 500 (D.C. Cir. 1999). As a result, this Court

should reach “the same result,” id., rather than contradict its prior rulings.

       Even if the issue remained open, Plaintiffs merely gloss over the multiple steps necessary

to make the requisite showing. The closest DAPL ever comes to the bottom of Lake Oahe is 92

feet—about as deep as an NBA basketball court is long. See D.E. 509-3 ¶¶ 8-10. Thus, Plaintiffs

would need to show that all of the following are likely: DAPL will leak or rupture at Lake Oahe,

and this leak or rupture will go undetected long enough to produce a large oil spill, and a sizeable

volume of oil from this spill will rise 92 feet through low-permeability material and reach the

waters of Lake Oahe, and Dakota Access will fail to mitigate this spill or recover the oil, and this

unmitigated spill will injure Plaintiffs in a way that cannot be remediated or adequately compen-

sated, and this all will occur before an EIS can be completed within the next year or so.

       Plaintiffs have not even remotely carried their burden to show that this “purely hypothetical

chain of events” is likely to occur. Wis. Gas, 758 F.2d at 675. Rather than affirmatively demon-

strate the likelihood or imminence of a large spill, they focus on purported deficiencies in the

Corps’ analysis and of DAPL’s safety features, including criticisms of the Corps’ “worst-case

discharge calculation,” DAPL’s “leak detection capacity,” Sunoco’s “operator safety record,” the

structure of Energy Transfer’s “plan[ning]” documents, “backup power at valves,” and the advis-

ability of “surge relief systems.” Mot. 10-11. Dakota Access and its experts fully rebutted these

critiques in the recent remedy briefing and have updated those responses. See D.E. 509-4 ¶¶ 9-22,

24-26, 28-38 (Godfrey Dec.); D.E. 509-5 ¶¶ 5-28, 32-42 (Stamm Dec.); D.E. 538-4 ¶¶ 4-18, 22-

47 (2nd Godfrey Dec.); Ex. A ¶¶ 10-20 (Third Godfrey Dec.). But even were Plaintiffs correct on

these points, they still would fail to show that a large spill at Lake Oahe is likely or imminent.




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These criticisms either assume that a sizeable spill will occur, with disagreement over how large

or consequential one would be, or they raise ways to further reduce spill likelihood or impact.

None comes close to showing that a large spill at Lake Oahe is likely and imminent. See Ctr. for

Biological Diversity, 2020 WL 4816458, at *10 (distinguishing between arguments about “a re-

duction in risk” and arguments “establish[ing] that irreparable harm is likely”).

       Plaintiffs’ declarants call DAPL “‘unusually unsafe’” with an “‘untenable’” or “‘unac-

ceptable risk,’” Mot. 10-11, but “such ‘broad conclusory statements about the likelihood of harm’

will not suffice”—a plaintiff must “substantiate the claim that irreparable injury is ‘likely’ to oc-

cur.” Cal. Ass’n of Private Postsecondary Schs. v. DeVos, 344 F. Supp. 3d 158, 171 (D.D.C.

2018); see Sierra Club, 990 F. Supp. 2d at 39 (“sound and fury” is not sufficient to show irreparable

harm). Because “none of [Plaintiff’s] declarations says anything about when, if at all,” a cata-

strophic spill at Lake Oahe “is likely to occur,” they cannot support a finding of irreparable injury.

Cal. Ass’n, 344 F. Supp. 3d at 171.

       Plaintiffs, who admit that a catastrophic spill at Lake Oahe is a “lower probability” event,

Mot. 11, instead distract by saying that “the precise probability, timing, and location of a potential

incident is unknown” to Plaintiffs, id. at 13, and “[i]t is not possible to predict where or when the

next pipeline spill will occur,” id. at 14. But this prong does not turn on whether “the Corps” can

“assure that [a leak or spill] will not occur” or the “precise” probability of a large spill. Id. (em-

phasis added). “[P]laintiffs must demonstrate” that the risk of an irremediable spill at Lake Oahe

is “‘certain, great, actual, and imminent.’” Henke, 842 F. Supp. 2d at 59 (emphasis added); accord

Monsanto, 561 U.S. at 156, 162-63. And the “absence of … data in the administrative records” or

the “failure to conduct … an EIS” is “not affirmative evidence” of a “real—as opposed to a theo-

retical—irreparable harm.” RB Jai Alai v. Fla. Dep’t of Transp., 2014 WL 12617779, at *5 (M.D.




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Fla. Sept. 30, 2014). “By definition,” such “uncertainty falls short of the type of actual and immi-

nent threat needed to show irreparable injury.” Cal. Ass’n, 344 F. Supp. 3d at 172.

       Plaintiffs’ own conduct confirms that irreparable harm is unlikely. They never sought a

preliminary injunction under NEPA, nor did they appeal this Court’s October 2017 remand deci-

sion, which rejected their request to vacate the easement and enjoin pipeline operations. And

during the remand itself, Plaintiffs repeatedly delayed—missing by six months a deadline to pro-

vide routine information about hunting and fishing licenses, compare RAR 13325, 13330, 13328,

13323 (letters from Corps), with RAR 6433 (Standing Rock response); refusing to respond to cor-

respondence from the Corps on account of typographical errors; refusing to consult until they re-

ceived technical information that the Corps and Dakota Access had already provided; ignoring

meeting requests; and bombarding the Corps with duplicative submissions late in the process. See

D.E. 456 at 58-62 (cataloguing ways in which Plaintiffs dragged out the remand). The end result

was an eight-month delay (from December 31, 2017 to August 31, 2018) in the remand. These

actions “impl[y] a lack of” both “urgency and irreparable harm” and are themselves “grounds for

den[ying]” relief. Newdow v. Bush, 355 F. Supp. 2d 265, 292 (D.D.C. 2005).

               2.      The Full Record Before This Court Proves That The Risk Of A Spill
                       Adversely Affecting Lake Oahe During The Remand Is Near Zero

       Plaintiffs’ Motion must be denied for utterly failing to “‘provide proof’” that a large spill

at Lake Oahe—or any comparable horizontal directional drilling (“HDD”) crossing—“‘has oc-

curred in the past and is likely to occur again, or proof indicating that the harm is certain to occur

in the near future.’” Henke, 842 F. Supp. 2d at 59. Yet Plaintiffs’ argument is weaker still. The

record—most of it uncontested—affirmatively and conclusively undermines each link in Plain-

tiffs’ “hypothetical chain of events” necessary for a spill at Lake Oahe capable of causing irrepa-

rable harm. Wis. Gas, 758 F.2d at 675.



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       First, because this Court has rejected Plaintiff’s challenges to the Corps’ reasonable finding

that the risk of any spill occurring at Lake Oahe is “low,” USACE_DAPL 71316; see SRST III,

255 F. Supp. 3d at 127, any claim of irreparable harm is entirely speculative. See also SRST IV,

282 F. Supp. 3d at 101 (“minimal risk”); SRST VII, 2020 WL 3634426, at *9 (“unlikely”). When

the complete record, including evidence submitted during the remedy briefing, is considered to

“‘fully evaluate’ [Plaintiffs’] claims ‘of irreparable harm,’” Eco Tour Adventures, Inc. v. Zinke,

249 F. Supp. 3d 360, 369 n.7 (D.D.C. 2017), it overwhelmingly confirms that the risk of a spill at

Lake Oahe is “near-zero.” D.E. 538-4 ¶ 41 (2nd Godfrey Dec.). Specifically:

      Historical Statistics: PHMSA data shows an accident frequency for all onshore crude-oil
       pipelines of 0.848 per 1,000 miles in 2017. RAR 16. For a 1.73-mile section of pipeline,
       this translates to one spill every 682 years. Assuming a long EIS process (two years), the
       chance of a spill of any size at Lake Oahe during remand would be 0.29% (less than 1 in
       300). For spills having any effect on people or the environment, the odds are even lower:
       1 every 963 years or a 0.2% chance during remand (1 in 500). RAR 16; D.E. 509-5 ¶ 6.

      HDD Installation Method: PHMSA data also show that HDD pipelines “appear to experi-
       ence lower risk of release,” meaning that “the likelihood of failure at an HDD crossing is
       extremely low.” RAR 19; D.E. 538-4 ¶ 40 (2nd Godfrey Dec.). Just a single, 1.7-barrel
       leak was reported between 2010 and 2018 on any crude-oil pipelines installed using HDD.
       D.E. 509-3 ¶ 13 (Aubele Dec.); RAR 19.

      Spill-Free Operational History: DAPL has operated more than three years with no spills
       on its nearly 1,200-mile mainline—including the Lake Oahe crossing—and only seven
       small incidents at company facilities, all fully remediated and none exceeding two barrels.
       D.E. 509-4 ¶ 16 (Godfrey Dec.); D.E. 509-5 ¶ 24 (Stamm Dec.); D.E. 538-4 ¶ 20 (2nd
       Godfrey Dec.). Plaintiffs exaggerate DAPL’s track record 20-fold by including a different
       pipeline’s spill data, Mot. 14, which would still yield fewer than 150 barrels, of which all
       but about 7 were recovered, D.E. 538-4 ¶ 6 (2nd Godfrey Dec.).

      Bathtub-Shaped Curve: According to Plaintiffs’ own expert, DAPL is even less likely to



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    leak now that it has completed its start-up phase. D.E. 272-2 ¶¶ 9-10 (3d Kuprewicz Dec.).

   Safety Record and Culture: Plaintiffs attack Sunoco’s safety record, but after Energy
    Transfer assumed ownership, Sunoco’s incident rate decreased by 50% in just two years.
    D.E. 509-5 ¶ 27 (Stamm Dec.). Energy Transfer controls DAPL operations and has
    adopted a rigorous safety-management standard (API 1173), D.E. 509-5 ¶ 26 (Stamm
    Dec.)—the very one that Plaintiffs prefer, D.E. 433-2 at 31.

    Second, the risk of a large spill at Lake Oahe is even lower:

   Historical Statistics:

       The Corps found that “most pipeline spills are small”—below 105 barrels 75% of the
        time. RAR 18-19.

       Applying PHMSA’s data, expert John Godfrey concluded that a spill materially larger
        than the         -barrel spill considered by the Corps would occur at Lake Oahe once
        every 193,971.4 years—a once-in-human-history event. D.E. 509-4 ¶ 21.

   Risk Evaluation: A detailed risk analysis of the Lake Oahe crossing—measuring 11 spill-
    likelihood and consequence variables—concluded that the overall risk-consequence rating
    was an extremely low 1.27 out of a possible 100. RAR 130, 14924; see RAR 15777-902.

   Leak-Detection System: DAPL’s leak-detection system effectively detects both large rup-
    tures and small pinhole leaks, and would do so well before the leak could cause irreparable
    injury. D.E. 509-5 ¶ 9 (Stamm Dec.).

       Each DAPL valve—including those on either side of the Lake Oahe crossing—has
        built-in, state-of-the-art pressure sensors. D.E. 509-5 ¶ 6 (Stamm Dec.).

       DAPL’s leak-detection system is rated to detect leaks down to 0.75% of flow rate
        within 45 minutes. D.E. 509-5 ¶ 9 (Stamm Dec.). During operations the system de-
        tected a removal of 4.7 barrels in less than 2 minutes. Id.

       By evaluating meter imbalances and “line pack,” DAPL can detect a loss of just 100
        barrels, even if the leak is smaller than 0.75%. RAR 205-06.

       Plaintiffs misuse a 2012 PHMSA study to allege an 80% failure rate in leak-detection



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           systems. The study instead identified which system was reported as “the leak identi-
           fier”: SCADA, when functional, was the leak identifier 28% of the time, followed by
           CPM (20%). Other systems (including the pipeline controller, local operating person-
           nel, and air patrols) accounted for the remainder. USACE_ESMT 3711-12.

       Third, even with a large spill, it is extraordinarily unlikely that oil would rise more than 90

feet through low-permeability materials to reach the waters of Lake Oahe. D.E. 509-3 ¶ 15

(Aubele Dec.). The HDD installation “virtually eliminat[es] the ability of a spill to interact with

the surface water.” RAR 13 (emphasis added; quotation marks omitted). “[T]he path of least

resistance is typically the original HDD bore,” which would lead the oil away from the water to

non-tribal land on the sides of the Lake. RAR 13; D.E. 509-5 ¶ 41 (Stamm Dec.).

       Fourth, under a PHMSA-approved response plan Dakota Access can swiftly and effec-

tively responding to a spill of up to         barrels—far larger than even conservative modeling

suggests is possible at Lake Oahe. D.E. 509-5 ¶ 19; see also D.E. 538-3 ¶ 17 ($6.8 billion in

insurance coverage and other resources to remediate any harm); RAR 60 (extensive modeling

shows a worst-case spill would never reach the Tribes’ water intakes); RAR 35 (in 95% of scenar-

ios, no significant wildlife impact). Plaintiffs have failed their burden to show that environmental

effects would be “permanent or irreversible.” Sierra Club, 990 F. Supp. 2d at 39.

       Finally, Dakota Access is voluntarily implementing additional safety measures that make

likelihood and impact even more remote, including backup power to close valves. Ex. E ¶¶ 6-9

(Fifth Stamm Dec.).

       Notably, no case that Plaintiffs cite—including under less-stringent pre-Winter standards—

even remotely supports injunctive relief based on a harm as unlikely as that asserted here. In

Michigan v. U.S. Army Corps of Engineers, 667 F.3d 765 (7th Cir. 2011), the Seventh Circuit held

that States neighboring Lake Michigan had shown that irreparable harm would “likely … come to



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pass” absent injunctive relief. Id. at 786, 789 (irreparable harm “likely” because “invasive carp”

were already “knocking on the door to the Great Lakes”; the risk of harm was “substantial and …

may be increasing with each day that passes”; and “it would be impossible to un-ring the bell”).

       Similarly, in National Ass’n of the Deaf v. Trump, there was “little debate on” the irrepa-

rable-harm “prong,” because the plaintiffs were being denied critical health and other information

during the COVID-19 pandemic. 2020 WL 5411171, at *10 (D.D.C. Sept. 9, 2020). A near-zero

chance of a future oil spill cannot seriously be analogized to being kept in the dark about the

dangers of a virus during a pandemic that has infected millions, propagates nearly exponentially,

and has already killed hundreds of thousands. See also Banks v. Booth, 459 F. Supp. 3d 143, 159

(D.D.C. 2020) (COVID-19 in prisons); Brady Campaign to Prevent Gun Violence v. Salazar, 612

F. Supp. 2d 1, 25 (D.D.C. 2009) (although “extent” was “not fully known,” environmental impacts

“will” occur); Ctr. for Food Safety v. Vilsack, 2010 WL 11484449, at *3 (N.D. Cal. Nov. 30, 2010)

(“likely” cross-contamination from genetic engineering); Confederated Tribes & Bands of Yakama

Nation v. DOA, 2010 WL 3434091, at *4 (E.D. Wash. Aug. 30, 2010) (“likely” introduction of

non-native invasive species into waterways governed by treaty rights); Helling v. McKinney, 509

U.S. 25, 33 (1993) (“life-threatening” degree of exposure to secondhand smoke). Plaintiffs have

failed to make an irreparable-harm showing based on a speculative oil-spill risk.

               3.      Plaintiffs’ Other Theories Of Harm Are Derivative Of A Potential
                       Spill And Do Not Establish Irreparable Harm

       Plaintiffs raise a grab-bag of additional irreparable-harm arguments, but none is persuasive.

To the extent these arguments apply to DAPL at all, they are derivative of Plaintiffs’ arguments

about an oil spill and fail for the same reasons.

       First, Plaintiffs raise the specter of “psychological damage, emotional distress, or trauma.”

Mot. 14. But even if “some of the people who live in areas near the pipeline project are sincerely



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worried about the harm that an oil spill might cause,” it does not suffice because “Plaintiffs have

not shown that a damaging oil spill is likely to occur.” Sierra Club, 990 F. Supp. 2d at 41. The

plaintiffs in Sierra Club also submitted declarations asserting that the oil pipeline there presented

an “‘unacceptable risk’” and that an oil spill would “‘threaten [the] community’s survival’” and

cause “‘environmental disaster.’” Id. at 41 n.18. But because “the harms that an oil spill might

potentially someday cause—however fearsome—[were] not certain,” the plaintiffs’ subjective

anxiety was “not sufficient to satisfy the ‘irreparable harm’ standard.” Id. at 41. This Court ap-

plied the same reasoning in this very litigation. Although preserving cultural sites was “a matter

of unquestionable importance to the Standing Rock people,” the Tribe still needed to prove that

harm to these sites was “probable.” SRST I, 205 F. Supp. 3d at 33.

       These cases recognize that injunctive relief “‘will not be granted against something merely

feared as liable to occur at some indefinite time.’” Wis. Gas Co., 758 F.2d at 674. “[S]ubjective

apprehensions” about speculative future harms fail to establish Article III standing, Lyons, 461

U.S. at 107 n.8, and the irreparable-harm test for injunctions “requires more than … Article III

standing,” NRDC v. EPA, 383 F. Supp. 3d 1, 15 (D.D.C. 2019); see also O’Shea v. Littleton, 414

U.S. 488, 499 (1974) (standing doctrine “shade[s] into” determining whether equitable relief is

warranted). It is the “reality of the threat” that matters for purposes of both standing and irrepara-

ble harm, not the level of subjective anxiety. Lyons, 461 U.S. at 107 n.8. Thus, where the “risk”

posed by agency action is “low,” a movant’s “reliance on emotional distress as a form of irrepara-

ble injury … is misplaced.” Colo. Wild Horse v. Jewell, 130 F. Supp. 3d 205, 220 (D.D.C. 2015).3

       Second, Plaintiffs cite “‘historical trauma’” at the hands of the U.S. government and “a

   3
        In any event, “emotional suffering is commonly compensated by cash” and therefore not
irreparable. Bhd. of Locomotive Eng’rs & Trainmen v. Union Pac. R.R. Co., 2011 WL 221823, at
*4 (N.D. Ill. Jan. 24, 2011); see, e.g., Memphis Cmty. Sch. Dist. v. Stachura, 477 U.S. 299, 307
(1986) (“compensatory damages may include … ‘mental anguish and suffering’”).


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combination of poverty, ill health, environmental contamination, and loss of culture.” Mot. 15.

But these harms do not “directly result from the action which [Plaintiffs] see[k] to enjoin.” Wis.

Gas, 758 F.2d at 674. Nor do Plaintiffs attempt to disaggregate these alleged traumas to make the

required showing that the requested injunction would restore a “‘sense of safety and well-being,’”

Mot. 15—particularly given that DAPL is co-located with other pipelines that lie much closer to

Lake Oahe than DAPL, see D.E. 509-3 ¶ 8. And these harms, too, are compensable.

       Third, the alleged NEPA-based harms to tribal self-governance are also derivative of the

speculative spill-risk claims. Mot. 16-17 (referencing Plaintiffs’ responsibility for “protect[ing]

their citizens, respond[ing] to disasters, and mitigat[ing] harm” from a possible spill). So too are

concerns about “protecting … sacred and ceremonial sites that would be at risk in a spill.” Id. at

18. Similarly, any “spill response planning” actions that Plaintiffs voluntarily undertake, Mot. 18,

are “precautionary measures against a speculative fear” that would not even support standing,

much less constitute irreparable injury, because the feared event is not “‘certainly impending.’”

Buchholz v. Meyer Njus Tanick, PA, 946 F.3d 855, 865 (6th Cir. 2020); Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 402, 407 (2013). Moreover, response planning is needed anyway due to the

other pipelines beneath the Lake, and these costs, too, are compensable.4 Finally, “loss of sover-

eignty over tribal land,” Mot. 17, is not at issue; DAPL crosses “federally owned lands.”

USACE_DAPL 71225. None of Plaintiffs’ arguments establishes irreparable harm.

       C.      The Balance Of Equities And The Public Interest Weigh Against A
               Shutdown

       To obtain an injunction, rather than just vacatur, Plaintiffs face a higher burden of proof

and a more demanding test for balancing the competing interests. Cf. SRST VII, 2020 WL


   4
       Concerns related to optimization of the “capacity of the pipeline,” Mot. 18, are unripe. The
Corps will “consider this optimization request as part of the EIS process.” D.E. 570 at 2 (Nov. 2,
2020). Higher flow rates are thus irrelevant to alleged harms during the remand.

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3634426, at *10 (assigning burden of proving disruption consequences to defendants); Winter, 555

U.S. at 20 (movant bears burden for injunction). The “certain and substantial” harms of a shut-

down far outweigh the “uncertain” and remote alleged risks of the status quo. Sherley v. Sebelius,

644 F.3d 388, 398 (D.C. Cir. 2011). Plaintiffs, who mostly rest on their vacatur briefing, Mot. 20

& n.3, fail to meet their burden here too.

               1.      Shuttering DAPL Would Have Devastating Economic Consequences

       This Court already acknowledged that shuttering DAPL would cause “serious” and “im-

mediate harm[s],” “particularly in a highly uncertain economic environment.” SRST VII, 2020

WL 3634426, at *8. Updated data proves that the harms will be at least as bad as already forecast.

       North Dakota oil producers lacking alternative transport means would need to “shut in”

thousands of wells, costing around $5 to $7.5 billion through 2021. See D.E. 501-3 ¶¶ 13-27; D.E.

504-2 ¶¶ 8, 10; D.E. 520-6; D.E. 509-9 ¶¶ 14-22; D.E. 509-11 ¶¶ 2, 15-26; D.E. 538-6 ¶¶ 16-35;

D.E. 538-7 ¶¶ 2-12. Losses would surpass $2 billion per year even if more costly rail transport

could pick up the slack. D.E. 509-9 ¶ 36; D.E. 509-11 ¶¶ 18-19; D.E. 538-6 ¶ 19; D.E. 538-8.

Production cuts would cost 4,500 to 7,200 oil industry workers their jobs, D.E. 504-2 ¶ 14; D.E.

509-11 ¶¶ 7, 22; D.E. 538-7 ¶¶ 43-46, and at least “hundreds of millions” in DAPL-generated tax

revenues for North Dakota alone, D.E. 537 at 4 (emphasis omitted). Other state and tribal govern-

ments likewise would incur significant revenue losses, including reduced royalty payments and

property tax revenues. D.E. 537-2 ¶ 6; D.E. 509-9 ¶ 28; D.E. 509-11 ¶¶ 28-30. Congestion and

shipping costs for other rail users, including Midwest farmers, would increase. D.E. 509-6 ¶¶ 17-

27, 60-84; D.E. 538-7 ¶¶ 4, 29-41; D.E. 538-5 ¶¶ 64-65. And the unprecedented shutdown of a

vital oil artery would increase energy market volatility, distort investment decisions, and threaten

the national economic recovery and energy security. D.E. 509-10 ¶¶ 5, 15-21; D.E. 509-7 ¶¶ 16,

21-22. Dakota Access also would suffer $2.8 to $3.5 million in revenue losses every day DAPL


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is idle in 2020, and $1 to $1.4 billion for 2021. D.E. 509-9 ¶¶ 9-10; D.E. 509-11 ¶¶ 12-14.

       Subsequent developments have reinforced the seriousness of these effects: Contrary to

Plaintiffs’ pessimistic predictions, D.E. 569 at 20, the national economy and oil market have al-

ready begun rebounding from this year’s earlier lows. Consumer demand for gasoline and diesel

has begun returning to historic levels, Ex. D ¶ 34 & fig. 7 (Ditzel Dec.), and recent projections are

for an increase in oil prices to between $45 to $50 per barrel in 2021, id. ¶ 35. This growing

demand has driven North Dakota oil production up from its May 2020 low-point, significantly

outpacing the gloomy predictions of Plaintiffs’ expert. Id. ¶¶ 51-55 & fig. 12; see D.E. 569-3 at

3-4. Higher transportation costs for rail, coupled with limited capacity, would result in between

178 and 270 million barrels of lost North Dakota oil production over the course of 2021 and 2022

if DAPL were shut down, Ex. D ¶ 61-62 & tbl.4 (Ditzel Dec.), directly causing the severe eco-

nomic consequences discussed above.5

       This Court previously dismissed economic considerations as “‘economic myopia,’” rea-

soning that “accepting [these] arguments” would “subvert the structure of NEPA” by creating

“‘undesirable incentives’” for agencies to “build first and consider environmental consequences

later.” SRST VII, 2020 WL 3634426, at *8-9. But the notion that agencies cannot be trusted to

follow the law in the face of “‘undesirable incentives,’” id. at *9, flips on its head the presumption

of regularity that this Court owes official government conduct, Favish, 541 U.S. at 174. Regard-




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         In the face of this evidence, Plaintiffs have but a single oil executive’s statement meant to
reassure investors that Hess would survive a DAPL shutdown. D.E. 569 at 20-21. That company
is better situated than other producers to weather one because it already owns 550 crude-oil railcars
along with unique access to rail terminal facilities. Ex. D ¶¶ 21-22 & fig. 4 (Ditzel Dec.). Plaintiffs
also ignore their own expert’s prior testimony that transporting oil by rail would cost an additional
$5 to $10 per barrel. See D.E. 569-3 at 14; Ex. B ¶¶ 3.e, 28-31 (Third Rennicke Dec.). That,
alone, will devastate North Dakota with lost tax revenue. See D.E. 504 at 4-8, 10; D.E. 537 at 7.

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less of how this issue plays out as to vacatur—which this Court called the “‘presumptively appro-

priate remedy’” for NEPA violations, 2020 WL 3634426, at *4—it fails to support the “extraordi-

nary remedy” of injunctive relief, “which should not be granted as a matter of course,” Monsanto,

561 U.S. at 165. Monsanto makes clear that the “less drastic remedy” of vacatur is ordinarily

sufficient to vindicate NEPA’s purposes, id., and the “balance of hardships” must be weighed

without any “thumb on the scales” in favor of injunctive relief, id. at 157.

       Plaintiffs, relying on a discredited witness whose own data proves her wrong, see D.E.

538-5 ¶ 6 (2nd Rennicke Dec.); D.E. 538-7 ¶ 7 (2nd Makholm Dec.); Ex. C ¶¶ 3, 5-10 (Third

Emery Dec.), offer no valid basis to discount economic effects. Weighing real, certain economic

harms over extremely unlikely environmental effects simply reflects this Court’s duty to “balance

the probability and the consequences of harm.” Mot. 11. Plaintiffs argue that economic loss is

not “in and of itself,” an “irreparable harm.” Mot. 20 (quoting Wis. Gas, 758 F.3d at 674). But

the losses here are irreparable, because they are not “recoverable,” 758 F.3d at 674, and Plaintiffs’

injuries—not DAPL’s or the public’s—must be “‘irreparable’” to support an injunction. Mon-

santo, 561 U.S. at 156-57. Finally, the suggestion that anyone “assume[d]” an “economic risk

knowingly,” Mot. 20, has no application to the severe harms to innocent third parties—including

state residents and thousands of employees. Moreover, even regulated parties may “reasonably

rel[y]” on duly issued agency licenses and permits, despite ongoing legal challenges, Oglala, 896

F.3d at 538.

               2.      A Shutdown Threatens The Environment And Public Safety

       The standard for injunctive relief also compels reassessment of the environmental risks of

shutting down DAPL. Dakota Access cited (see D.E. 509-1 at 41-42) multiple authorities finding

that “pipeline transportation of oil is safer than rail transportation” on a “volume-distance basis

(i.e., per barrel-mile).” Puntenney v. Iowa Utils. Bd., 928 N.W.2d 829, 842 (Iowa 2019); see also


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Strata, Pipelines, Rail & Trucks: Economic, Environmental, and Safety Impacts of Transporting

Oil and Gas in the U.S., at 6 (2017); Karen Clay, et al., External Costs of Transporting Petroleum

Products: Evidence from Shipments of Crude Oil from North Dakota by Pipelines and Rail, 40

Energy J. 55, 68 (2019). The court dismissed rail risks without considering these studies. SRST

VII, 2020 WL 3634426, at *10 (only addressing a separate PHMSA study).

       The demanding injunction standard requires even more from Plaintiffs this time. They

must prove that the harms of operating DAPL outweigh these impacts. Winter, 555 U.S. at 20.

Uncertainty about environmental impacts thus weighs against injunctive relief. Further, the

PHMSA study the Court addressed found that pipelines were safer than rail on every metric but

one. D.E. 507-2 at 7-10. And that one metric (slightly more annual injuries from one cause) is

more than offset by the other metrics, including more rail injuries and fatalities overall when de-

railments and traffic accidents are counted. D.E. 538-3 ¶ 36. The “‘balance of hardships,’” Mon-

santo, 561 U.S. at 157, thus weighs decisively in favor of leaving DAPL in operation rather than

switching to rail. And that is not even accounting for the other undisputed environmental harms

that the Court has yet to address: Shuttering DAPL would cause methane emissions from closed

wells, D.E. 509-3 ¶ 38 & n.13; purging DAPL of oil and filling it with an inert gas to avoid corro-

sion while out of service would risk injury to those workers, D.E. 509-5 ¶ 46; and huge quantities

of nitrogen would be released into the atmosphere when the pipeline comes back online, D.E. 538-

3 ¶ 43. An injunction thus presents far greater risks to the public interest than keeping it online.

II.    Plaintiffs’ Requests For Alternative Relief Are Meritless

       A.      There Is No Basis To “Clarify” The Vacatur Order

       Plaintiffs cannot avoid the requirements for injunctive relief by asking this Court to “clar-

ify” that the shutdown order “is not an injunction.” Mot. 4. The D.C. Circuit already rejected that

argument in its August 5, 2020 Stay Order. Standing Rock Sioux Tribe v. U.S. Army Corps of


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Eng’rs, No. 20-5197 (D.C. Cir. July 5, 2020), Doc. 1852488, at 18 (Plaintiffs’ Stay Opposition)

(contending in argument heading that “[a] separate injunction was not necessary to give effect to

vacatur”); Stay Order at 1. This position also gained no traction at the November 4, 2020 oral

argument. Ex. A (“Tr.”) at 83:1-10. This Court has likewise recognized that “even an affirmance

[of vacatur] would not halt pipeline operations.” D.E. 567 at 2.

       The D.C. Circuit was right to reject Plaintiffs’ effort to avoid Monsanto by dressing up an

injunction in vacatur garb. “[V]acatur” merely “deprive[d]” the easement of ‘“any legal conse-

quences,”’ Kelso v. U.S. Dep’t of State, 13 F. Supp. 2d 12, 17 (D.D.C. 1998), leaving the Corps to

determine the remedy for the resulting property encroachment. But any shutdown order “‘enforce-

able by contempt’” is an “injunction.” United States v. Fokker Servs. B.V., 818 F.3d 733, 749

(D.C. Cir. 2016). A statement merely “clarifying” vacatur’s effect without ordering operations to

cease would be an impermissible (and ineffectual) advisory opinion.6

       To be sure, in some cases vacatur can “set in motion” a “chain of events” that “lead to” the

cessation of private conduct. Nat’l Parks Conservation Ass’n v. Semonite, 422 F. Supp. 3d 92,

100 (D.D.C. 2019). But acknowledging these “disruptive consequences” as a practical matter—

e.g., in deciding whether to vacate under Allied-Signal, Inc. v. U.S. Nuclear Regulatory Comm’n, 988

F.2d 146 (D.C. Cir. 1993), or grant injunctive relief, see Mot. 4-6 (citing cases)—does not mean they

are legally required or that courts can compel them without an injunction. That is particularly true

here. Unlike natural-gas pipelines, e.g., Sierra Club v. FERC, 867 F.3d 1357 (D.C. Cir. 2017), oil

pipelines need no federal license to operate, Standing Rock Sioux Tribe v. U.S. Army Corps of

Eng’rs (“SRST I”), 205 F. Supp. 3d 4, 34 (D.D.C. 2016). And no statute or regulation mandates


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        Moreover, because the appeals divest this Court of jurisdiction, Ayuda, Inc. v. Thorn-
burgh, 919 F.2d 153, 155 (D.C. Cir. 1990), the Court may only “consider additional relief if nec-
essary” as directed by the D.C. Circuit’s order, Stay Order at 2. An unenforceable advisory opinion
“clarifying” the effect of vacatur is not “relief.”

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any consequence for encroachment on federal property. See supra at 6. Instead, the Corps has discre-

tion as to the enforcement of its property rights, id., and unlike when a construction permit is vacated,

DAPL’s continued operation merely maintains the status quo. Without further action by the Corps,

therefore, vacatur does not compel DAPL to immediately cease operations.

        B.      Plaintiffs Have No Basis To Vacate Dakota Access’s Section 408 Permit

        Plaintiffs ask the Court to reconsider rejection of their request, which Plaintiffs first made

at the remedy stage, to vacate the Corps’ § 408 permit. Mot. 6-7. As explained supra, at 2, only

the easement was at issue during and following the remand. See also SRST VI, 440 F. Supp. 3d at

7-8 (reaffirming June 2017 holding that an EIS is not needed for actions pre-dating easement).

Plaintiffs forfeited that issue by not raising it earlier, including during the summary judgment

briefing or a motion to reconsider the judgment. And the pending appeals divest this Court of any

authority to modify that judgment.

        In any event, Plaintiffs lack standing to challenge the Section 408 permit, which authorized

DAPL’s construction at Lake Oahe, not its operation. See SRST I, 205 F. Supp. 3d at 12 (the

Rivers and Harbors Act forbids certain “construction” activities without Corps permission). Be-

cause construction is complete, Plaintiffs would have no basis for challenging the Section 408

permit even if this Court could consider such a challenge. And, for all of the reasons this Court

explained in its June 2017 Opinion, that permit was lawfully issued.

                                           CONCLUSION

        The Court should deny Plaintiffs’ motion for a permanent injunction and additional relief.




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DATED this 20th day of November, 2020.

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                               CERTIFICATE OF SERVICE

       I certify that on November 20, 2020, the foregoing document was filed via the Court’s

CM/ECF system and served upon ECF-registered counsel for all parties to this proceeding.

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